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                   TINITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
                                             No.


CAROL CALLAHAN BYRNE and                     (electronically filed)
BRIAN BYRNE.
                 Defendants

                             INFORMATION

TTIE I]MTED STATES ATTORNEY CHARGES:

                                  COUNT 1
              Failure to Report Liet 1 Chemical Manufacturing
                           21U.S.C. $ 842(d(10)

     From on or about January 10, 2011 to on or about January 24,

20L7, in the Middle District of Pennsylvania, and elsewhere, the

defendants.

                     CAROL CALLAHAN B\T,NE and
                           BRIAN B\G,NE,

both regulated persons, knowingly failed to make annual reports to the

Attorney General, as required by Title 21, United States Code, Section

830(b)(2), of information concerning List 1 chemicals manufactured and

caused to be manufactured bv the defendants.
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        All in violation   of   Title 21, United States Code, Sections 942(a)(10)

and (c)(2)(A).



Date:     e lo   ?<)                           DAVID J. FREED
                                               United States Attorney


                                         By:
                                               PHILLIP J. CARABAILO
                                               Assistant United States Attorney




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